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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA
                                EASTERN DIVISION

UNITED STATES OF AMERICA                        INDICTMENT

                     v.                         Case No. ________________________

JOSHUA CLARENCE YOUNG                           Violation: 21 U.S.C. § 846

Conspiracy to Possess with Intent to Distribute and Distribute a Controlled Substance

The Grand Jury Charges:

      From on or between July 1, 2015, and the date of this Indictment, in the Districts of

North Dakota, Minnesota, and elsewhere,

                              JOSHUA CLARENCE YOUNG

did knowingly and intentionally combine, conspire, confederate, and agree together and

with others, both known and unknown to the grand jury, to possess with intent to distribute

and distribute 500 grams or more of a mixture and substance containing a detectable amount

of methamphetamine, a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1), and Title 18, United States Code, Section 2.

                                         Overt Acts

      In furtherance of this conspiracy and to effect and accomplish the objects of it, one or

more of the conspirators committed the following overt acts:

      1. It was a part of said conspiracy that the defendant and others would and did

possess with intent to distribute and did distribute 500 grams or more of a mixture and
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substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, within the states of North Dakota, Minnesota, and elsewhere;

       2. It was further a part of said conspiracy that the defendant and others would and

did attempt to conceal their activities;

       3. It was further a part of said conspiracy that the defendant and others would and

did use telecommunication facilities; and

       4. It was further a part of said conspiracy that the defendant and others would and

did use United States currency in their drug transactions;

       In violation of Title 21, United States Code, Section 846; Pinkerton v. United States,

328 U.S. 640 (1946).

                                           A TRUE BILL:



                                            /s/ Grand Jury Foreperson
                                            Foreperson


/s/ Christopher C. Myers
CHRISTOPHER C. MYERS
United States Attorney

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